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 1                                                                      The Honorable John H. Chun

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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9   FEDERAL TRADE COMMISSION,                          No. 2:23-cv-0932-JHC
10                       Plaintiff,                     MOTION FOR LEAVE TO FILE
                                                        AMICUS CURIAE BRIEF BY
11           v.                                         ASSOCIATION OF CORPORATE
                                                        COUNSEL IN SUPPORT OF
12   AMAZON.COM, INC., et al.,                          DEFENDANTS’ MOTION TO DISMISS
13                       Defendants.                    NOTE ON MOTION CALENDAR:
                                                        NOVEMBER 10, 2023
14

15                                         I.   INTRODUCTION
16           The Association of Corporate Counsel (“ACC”) hereby respectfully submits this Motion

17   for Leave to File an Amicus Curiae Brief in support of Defendant Amazon.com, Inc.’s Motion to

18   Dismiss (Dkt. #84). The ACC has informed Plaintiff Federal Trade Commission (“FTC”) of its

19   intention to file an Amicus Curiae Brief in support of Defendant, and the FTC was not prepared to

20   consent to the filing at that time.

21                     II.     IDENTITY AND INTEREST OF AMICUS CURIAE
22           Amicus curiae, ACC, is a global legal association that promotes the common professional

23   and business interests of in-house counsel who work for corporations, associations, and other

24   organizations through information, education, networking, and advocacy. Founded as the

25   American Corporate Counsel Association in 1981, it has grown from a small organization of in-

26   house counsel to a worldwide network of more than 45,000 in-house lawyers employed by over
      ASSOCIATION OF CORPORATE COUNSEL’S                                              Snell & Wilmer
                                                                              506 Second Avenue, Suite 1400
      MOT. FOR LEAVE TO FILE AMICUS BRIEF - 1                                   Seattle, Washington 98104
      (2:23-cv-0932-JHC)                                                               425.748.5055
                Case 2:23-cv-00932-JHC Document 107 Filed 10/25/23 Page 2 of 3




 1   10,000 corporations, associations, and other organizations in more than 80 countries. It has long

 2   sought to aid courts, legislatures, regulators, and other law or policy-making bodies in

 3   understanding the role and concerns of in-house counsel, and is a frequent amicus participant in

 4   important cases affecting in-house counsel. This is such a case. Companies, organizations, and

 5   their employees need to be able to freely and fully confer with their counsel. Indeed, companies

 6   depend on their in-house lawyers now more than ever before. A recent study reveals that in the

 7   United States, “From 1997 . . . to 2020, the number of lawyers employed in-house has increased

 8   from 34,750 to 115,770 — a 3x increase.” 1 That same study found that “the in-house sector . . . is

 9   a larger employer of lawyers than BigLaw.” 2 Were this Court to accept the Amended Complaint’s

10   assertion that consulting counsel is itself evidence of knowledge of illegality, ACC members’ vital
11   role in promoting “broader public interests in the observance of law and administration of justice”
12   would itself become a liability.
13                  III.   REASONS WHY THE MOTION SHOULD BE GRANTED
14             District courts have “broad discretion” to appoint amici curiae. Skokomish Indian Tribe v.
15   Goldmark, 2013 WL 5720053, at *1 (W.D. Wash. Oct. 21, 2013) (quoting Hoptowit v. Ray, 682
16   F.2d 1237, 1260 (9th Cir. 1982)). “District courts frequently welcome amicus briefs from non-
17   parties concerning legal issues that have potential ramifications beyond the parties directly
18   involved or if the amicus has ‘unique information or perspective that can help the court beyond

19   the help that the lawyers for the parties are able to provide.’” NGV Gaming, Ltd. v. Upstream Point

20   Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005) (quoting Cobell v. Norton, 246 F.

21   Supp. 2d 59, 62 (D.D.C. 2003)).

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        Bill Henderson, In-house is bigger than BigLaw, Legal Evolution (Sep. 30, 2021),
24   https://www.legalevolution.org/2021/09/in-house-is-bigger-than-biglaw-
     262/#:~:text=From1997%20(the%20first%
25   20year%20of,to%20115%2C770%20%E2%80%94%20a%203x%20increase.
     2
26       Id.
         ASSOCIATION OF CORPORATE COUNSEL’S                                              Snell & Wilmer
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 1            The Court should exercise its discretion to permit ACC to file the attached amicus brief.

 2   ACC has deep expertise on issues regarding the role and concerns of in-house counsel. This

 3   background positions ACC to provide exactly the type of “unique information [and]

 4   perspective”—in this case, that the simple act of conferring with counsel cannot serve as a basis

 5   for civil liability —that amicus briefs are intended to supply.

 6                                         IV.     CONCLUSION
 7            For the reasons set forth above, and based on the consent of all parties in this action, the

 8   proposed amicus ACC respectfully requests the Court grant it leave to file the amicus curiae brief

 9   attached as Exhibit A.
                                                       SNELL & WILMER LLP
10    DATED this 25th day of October, 2023             Cooperating Attorneys for ASSOCIATION OF
11                                                     CORPORATE COUNSEL
      I certify that this memorandum contains
12                                                     By /s/ Clifford S. Davidson
      540 words, in compliance with the Local
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